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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
EMERGENCY PHYSICIANS OF ST. Civil Action No. 09-cv-6244-WJM-MF
CLARE’S, LLC, MERCER BUCKS
ORTHOPEDICS, PC, and PASCACK SUPPLEMENTAL DECLARATION
EMERGENCY SERVICES, OF MICHAEL DINGER

On behalf of themselves and all others similarly | Oral Argument Requested
situated,

Plaintiffs, [Filed Electronically]
v.

PROASSURANCE CORPORATION,
PROASSURANCE CASUALTY COMPANY,
and PROASSURANCE

INDEMNITY COMPANY, INC.,

Defendants.

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1. I am an associate in the firm Stern & Kilcullen, LLC, counsel for defendants
ProAssurance Corporation, ProAssurance Casualty Company, and ProAssurance Indemnity
Company, Inc. At the request of the Court, [ submit this supplemental declaration in connection
with defendants’ pending Motion to Compel Arbitration or, alternatively, Dismiss.

2. A copy of the healthcare professional lability policy between ProNational
Insurance Company and Emergency Physicians of Saint Clare’s LLC is attached hereto as
Exhibit A.

3. A copy of the healthcare professional liability policy between ProNational
Insurance Company and Mercer-Bucks Orthopaedics is attached hereto as Exhibit B.

4, A copy of the healthcare professional liability policy between ProNational
Insurance Company and Pascack Emergency Services PA is attached hereto as Exhibit C.

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfuily false, I am subject to punishment.

Dated: July 22, 2010

Michael Dinger
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EXHIBIT A

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HEALTH CARE PROFESSIONAL LIABILITY POLICY

DEFINITIONS

As used in this policy, the following terms shal! have the following meanings:

Continuous coverage effective date means the effective date of the earliest policy issued by us to the insured, which
policy is followed by a continuous and unbroken period in which we provided coverage to the insured.

Cover Page means the Health Care Professional Liability Policy Cover Page, or any renewal or modification thereof.

Coverage Summary means the Health Care Professional Liability Policy Coverage Summary, or any renewal or
modification thereof.

Damages means all amounts of money which are payable under this policy because of injury, including death.

insured means any insured dentist, any insured organization, any insured physician, any insured paramedical
employee, and any other covered employee.

Insured dentist means any person designated as such in the Coverage Summary.

Insured organization means any partnership, professional corporation, professional association, limited liability
company, or other entity designated as an [Insured Organization in the Coverage Summary.

Insured paramedical empioyee means any person designated as such in the Coverage Summary.
Insured physician means any person designated as such in the Coverage Summary,
‘Insured professional means any insured dentist or insured physician.

Other covered employee means any person whose duties include the prevention, diagnosis and treatment of illness or
injury, other than a person practicing as a physician, surgeon, dentist, psychologist, nurse midwife, nurse anesthetist,
nurse practitioner, physician's assistant, surgeon's assistant, perfusionist, optometrist, cytotechnologist, emergency
medical technician, or anesthesiologist assistant, or any person licensed, certified, or otherwise authorized to deliver
advanced level health care in the absence of direct supervision by a licensed physician.

Other insurance means any valid and collectible insurance, self insurance, self-insured retention, self-insured trust, or
risk transfer instrument of any kind, other than this policy, that provides defense or indemnity to any insured for any
claim, loss, liability, or damages covered by this policy,

Peer review services means service by an insured professional while acting within the scope of his or her duties as a
member of:

A. a utilization and quality control peer review organization acting under contract with a federal or state health
care agency to review the professional activities of health care providers;

B. a duly constituted hospital, surgery center or long-term health care facility utilization review committee
providing review of services furnished by the institution and members of its medical or dental staff:

©.  aduly constituted hospital, surgery center, cr dental center staff committee, consisting solely of members of
the medical or dental staff of such hospital, surgery center, or dental center for the evaluation and
improvement of quality of care; .

D. a duly constituted hospital peer review committee, consisting solely of members of the medical or dental staff
of such hospital, having responsibility for: (1) reviewing qualifications and credentials of persons seeking
appaintment or reappointment to a hospital medical staff, (2) evaluating the clinical or administrative
competence of persons so appointed, (3) matiers concerning limiting the scope of hospital privileges of
persons on a hospital medical staff, or (4) matters concerning the dismissal or discharge of persons from a
hospital medical staff; or

E. any peer review program conducted by us; and

F. with respect to insured dentists only, a duly constituted dental society peer review committee having
responsibility for evaluating the pertormance of services of other dentists or dental auxiliary personnel at the
request of government agencies, patients, dentists, providers of dental benefits, or third party insurers.

Policy means ihe Cover Page, the forms listed thereon, and any endorsements issued from time to time. The policy
terms in effect at the time a professional incident is first reported shail apply to that professional incident.

Policyholder means the person or entity designated as such in the Coverage Summary.
Policy period means the period specified as such in the Coverage Summary.

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Professional incident means:

A. a single act or omission, or a series of related acts or omissions during a continuing course of professional
services, arising out of the rendering of, or failure to render, professional services to any one person by an
insured or any person for whose acts or omissions an insured is legally responsible, which results, or is
fikely to result, in damages; or

B. a single act or omission or a series of related acts or omissions by an insured physician or insured dentist
during the performance of peer review services which results, or is likely to result, in damages.

For purposes of this definition, treatment of mother and fetus (or fetuses) from conception through postpartum care
constitutes a single professional incident.

Professional services means the provision of medical or denial services, including treatment, making diagnoses and
rendering opinions or advice.

Report, reported, and reporting mean, when used with respect to a professional incident, the giving by an insured or
his or her representative of notice of such professional incident either in writing or by telephone to our Claims
Department specifying (1) the date, time, and place of the professional incident, (2) a description of the professional
incident, (3) the name, address, and age of the patient or claimant, (4) the names of witnesses, including other treating
physicians, and (5} the circumstances resuiting in the professional incident.

Reporting Endorsement (or "Tali Coverage") means an endorsement issued with respect to an insured under Section
VI, Mil or VII| of the Professional Liability Coverage Part to provide coverage for professional incidents first reported
after the insurance provided by this policy ferminates as to such insured.

Retroactive date means the retroactive date applicable to each insured as specified in the Coverage Summary.
We, our and us refer to the company that issued this policy and is designated as "THE COMPANY" on the Cover Page.

PROFESSIONAL LIABILITY COVERAGE PART

l. INSURING AGREEMENT

We agree to pay on behalf of each insured, subject to the applicable limit of liability, ali sums which such insured
shall become jegally obligated to pay as damages because of any professional incident which occurs on or after
the retroactive date applicable to such insured and which is first reported during the policy period; provided,
however, that insured paramedical employees and other covered employees are covered only for professional
incidents that occur while such persons are employed by an insured organization or insured professional and
acting within the scope of such employment and while engaged in the performance of professional services which
such persons hold any required license to perform. This insurance applies to professional incidents arising out of
professional services or peer review services rendered anywhere in the world, provided that any resulting clalm
or suit is prosecuted within the United States of America, its possessions or territories. This insurance does not
apply to any claim or suit asserted, filed, pursued, or prosecuted in or pursuant to the authority of any court, tribunal,
or other governmental or legal authority outside the jurisdiction of the United States of America, its possessions and
territories.

il. INVESTIGATION, DEFENSE AND SETTLEMENT

We have the right to investigate any professional incident that we deem expedient. We have the right and duty to
defend any suit against an insured seeking damages which, if awarced, would be covered by this policy, even if
any of the allegations of the suit are groundless, false or fraudulent, and we have the right, but not the duty, to
defend any claim against an insured seeking such damages. We have the right to select defense counsel in any
such claim or suit defended by us. We will net pay fees and expenses of any legal counsel not retained by us. Ifa
claim or suit is asserted against more than one insured, we may retain the same legal counsel to defend alll
insureds, consistent with counsel's ethical duties to avoid conflict of interest.

We have the right to settle any claim or suit against an insured seeking damages which, if awarded, would be
covered by this policy: provided that no such settlement will be made without the wriften consent of the
policyholder unless (a) the policyholder cannot be located and contacted after reasonable efforts are made by
us; or (b) the satttement is made after a verdict or judgment has been rendered against an insured.

We shall not be obligated to take an appeal from any judgment against an insured,

We shall not be obligated to pay damages or to defend any suit after the applicable limit of liability has been
exhausted.

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EXCLUSIONS

We will not pay damages because of any of the following, and we will not provide a defense for any suit alleging
any of the following:

A. in the case of any insured professional, liability arising out of the rendering of, or failure to render,
professional services by any person other than such insured professional for whose acts or omissions
such insured professionai is liable solely by reason of his or her status as a member, partner, officer,
director or shareholder of any partnership, professional corporation, professional association, limited liability
company, or other legal entity (other than an insured organization);

B. Liability of an insured as an owner, superintendent, administrator, director, trustee, or officer of any hospital,
sanitarium, clinic with bed and board facilities, nursing home, ambulatory surgery center, laboratory, health
maintenance organization, preferred provider organization, exclusive provider organization or other similar
health care entity, or other business enterprise;

C. Liability assumed by an insured under any contract or agreement, whether oral, written or implied, except to
the extent that coverage for such liability would be available to such insured in the absence of such contract
or agreement;

D. Liability arising out of any willful, wanton, fraudulent, criminal or malicious act or omission;

E. Liability arising in whole of in part out of sexual activity, or acts in furtherance of sexual activity whether under
the guise of professional services or not;

F. Injury to any employee of an insured unless arising from the treatment of the employee as a patient of such
insured;

G. — Any obligation for which an insured or any carrier as insurer may be held liable under any workers’
compensation, unemployment compensation, disability benefits, or any similar law;

H. Liability arising out of any act or omission of an insured (1) for which such insured does not hold any
required license to perform, (2) which occurs during any time such insured’s license to practice his ar her
profession has been suspended, revoked or valuntarily surrendered, or (3) which constitutes a violation of any
restriction imposed upon such license;

I. Liability arising out of any antitrust violation (except for antitrust violations arising from peer review services
for which coverage is otherwise afforded), unfair competition, discrimination, or any other act or omission
which violates any statute, ordinance ar regulation imposing any fine, penalty or other sanction;

J. Any professional incident which has been reported to another insurance carrier prior to the continuous
coverage effective date; any professional incident which occurred prior to the continuous coverage
effective date, if on such date, the insured knew or believed, or had reason to know or believe, that such
professional incident had occurred; or any professional incident that occurred during a period in which the
insured was not covered under a policy of professional liability insurance:

K. Liability arising out of any claim or investigation instituted by a patient of any insured alleging errors ar
amissions by the insured in billing statements for professional services rendered to such patient;

L. Liability arising out of any professional incident that occurs while an insured is impaired by alcohol or drugs:
or

M. Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as double
or treble damages) awarded against an insured.

LIMITS OF LIABILITY AND DEDUCTIBLES

The limits of liability specified in the Coverage Summary as applicable to each insured professional shall apply to
ali claims or suits made or brought against such insured professional (except that claims or suits arising out of the
rendering of, or faiiure to render, professional services by any person other than such insured professional for
whose acts or omissions such insured professional may be held liable as a member, partner, officer, director or
sharehalder of an insured organization shall be charged against the limit of liability of the insured organization).

The limits of liability specified in the Coverage Summary as applicable to each insured paramedical employee
shall apply to ali claims or suits made or brought against such insured paramedical employee.

The limits of liability specified in the Coverage Summary as applicable to an insured organization shall apply to
all claims or suits made or brought against (1) the insured organization; (2) any other covered employee; and (3)
any insured professional, provided such iiability arises out of the rendering of, or failure to render, professional
services by any person other than such insured professional for whose acts or omissions such insured
professional is liable solely by reason of his or her status as a member, partner, officer, director or shareholder of
the insured organization. ‘

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The limit of liability specified in the Coverage Summary for each insured as “each professional incident” is the total
of our liabifity to such insured resulting from any one professional incident. The limit of jiability stated in the
Coverage Summary for each insured as “annual aggregate” is the total limit of our liability to such insured
resulting from al! professional incidents which are first reported during the policy period.

The limit of ability shall apply regardless of:

A. the number of persons or entities claiming damages covered by this policy;
B. the number of claims or suits brought on account of a professional incident:
C. the number of insureds under this policy; or

D, the inclusion of an additional insured.

If Additional Limits of Liability are shown in the Coverage Summary for any insured, such Additional Limits of
Liability shall apply anly to (1) professional incidents which occur after the Additional Coverage Retroactive Date
shown for such insured in the Coverage Summary and (2) after exhaustion of the Primary Limits of Liability
applicable to such insured.

We shall have the right to allocate damages or supplementary payments among claimants, insureds, and policies
as we deem appropriate.

If a Reporting Endorsement is issued, our liability for ail professional incidents first reported after the effective
date of the Reporting Endorsement shail be as stated therein.

If a “Deductible” is shown for any insured in the Coverage Summary as applicable to this Coverage Part, such
insured shall be liable for each professional incident reported in an amount equal to the Deductible shown in the
Coverage Summary, and our limit of Hability will be reduced by such amount. In the event we pay on behalf of an
insured all or part of the deductible as damages, the policyholder shall reimburse us for the amount of any such
payment within thirty (30) days after written demand. The policyholder agrees to pay ali costs incurred by us,
including attorneys’ fees and court costs, incurred by us in collecting any reimbursement.

SUPPLEMENTARY PAYMENTS
We will pay, in addition to the applicable limit of liability:

A. all expenses incurred by us, all costs taxed against an insured in any suit defended by us, and interest
accruing on a judgment or award against an insured before we have paid, tendered, or deposited in court
that part of the judgment which does not exceed the limit of our liability thereon, provided that we will pay
interest only on that portion of the judgment or award that does not exceed the applicable fimit of liability; and

B. premiums on appeal bonds required in any suit defended by us, and premiums on bonds to release
attachments in any such suit, for an amount not in excess of the applicable limit of tiability of this policy, but
we shall have no odligation to apply for or furnish any such band.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED ORGANIZATIONS

In the event of termination of the insurance afforded by this policy, either by nonrenewal or cancellation, any
insured organization shail have the right, upon the payment of an additional premium {to be computed in
accordance with our rules, rates, rating plan and premiums applicable on the effective date of the endorsement), to
have issued a Reporting Endorsement providing coverage for professional incidents occurring prior to the
termination date and otherwise covered by this policy, but which are first reported after such termination date.
Such right must be exercised by such insured organization by making payment to us not later than thirty (30) days
after such termination date.

Notwithstanding the foregoing, if the insurance provided by this policy to any insured organization which shares
limits with one or more insured professionals terminates by reason of the dissolution or other termination of
activity by such insured organization, such msured organization shall continue to be covered for professional
incidents which occur while such insured organization is active, even though any such professional incident
may not be reported until after the insured organization ceases activity, as long as such professional incident is
first reported within the policy period applicable to the insured professionals with whom the insured
organization shares limits.

The Reporting Endorsement issued to an insured organization pursuant to this Section Vi shall provide
coverage only for such insured organization and its other covered employees. Such Reporting Endorsement
shall not provide coverage to any insured professional or insured paramedical employee. Insured
professionals and insured paramedical employees must obtain individual Reporting Endorsements as
provided in Sections Vil and Vill below.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PROFESSIONALS

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lf the insurance afforded by this policy to an insured professional terminates, either by nonrenewal or
cancellation, sucn insured professional shall have the right, upon the payment of an additional premium (to be
computed in accordance with our rules, rates, rating plan and premiums applicable on the effective date of the
endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us, providing
coverage for professional incidents occurring prior to the termination date and for which such insured
professional is otherwise covered by this policy, but which are first reported after such termination date. Such
right must be exercised by an insured professional by making payment to us not jater than thirty (30) days after
such termination date.

Notwithstanding the foregoing, a Reporting Endorsement shall be issued in accordance with our rules on the
effective date of the endorsement to an insured professional automatically and without payment of any additional
premium in case the termination of insurance results fram:

A. the death of such insured professional;

B. the permanent and total retirement by such insured professionai from the practice of medicine, but only if
such insured professional shall have been insured continuously by us for the preceding five years. The
insured professional must submit an affidavit satisfactory to us in which the insured professional confirms
an intention to permanently and totally retire from the practice of medicine and agrees to pay a premium for the
Reporting Endorsement if such insured professional recommences the practice of medicine within five
years after delivering such affidavit;

C. the permanent and total disability of such insured professional resulting in the inability to continue the
professionai activity or endeavor in which such insured professional was theretofore engaged, but only if such
permanent and total disability:

{. shall have continued without significant interruption for a term of not less than six months prior to
termination; and

2. shail have required requiar treatment by a legally qualified medical or surgical practitioner other than such
insured professional.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PARAMEDICAL EMPLOYEES

lf the insurance afforded by this policy to an insured paramedical employee terminates, either by nonrenewal or
cancellation, such insured paramedical employee shall have the right, upon the payment of an additional premium
(to be computed in accordance with our rules, rates, rating plan and premiums applicable on the effective date of
the endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us for
individual coverage, providing coverage for professional incidents occurring prior to the termination date and for
which such insured paramedical employee is otherwise covered by this policy, but which are first reported after
such termination date. Such right must be exercised by an insured paramedical employee by making payment to
us not later than thirty (30) days after such termination date.

Notwithstanding the foregoing, if the insurance provided by this policy to any insured paramedical employee who
shares limits with one or more insured professionals terminates, such insured paramedical employee shall
continue to be covered for professional incidents that occured while such insured paramedical employee was
employed by the insured professional with whom he or she shares limits of Hadbility, even though any such
professional incident may not be reported uniil after the insured paramedical employee is no longer so
employed, as long as such professional incident is first reported within the policy period applicable to the
insured professional with whom lhe insured paramedical employee shares limits.

GENERAL CONDITIONS

PREMIUM

All premiums shall be computed in accordance with our rules, rates, rating plans, premiums and minimum
premiums applicable to the insurance afforded herein.

RIGHTS AND DUTIES OF POLICYHOLDER

Unless named as an insured in the Coverage Summary, the policyholder is not an insured and shalt have no
coverage under this policy. However, the policyholder shall pay all premiums, receive all return premiums, provide
any consents, including consent to settle, as may be required, and receive ali notices and invoices under this
policy. Ail provisions in the General Conditions which are applicable to the insureds shall also apply to the
policyholder.

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INSPECTION

We shall be permitted but not obligated to inspect any insured's property and operations at any time. Neither our
right ta make inspections nor the making thereof nor any report thereon shall constitute an undertaking, on behalf of
or for the benefit of any insured or others, to determine or warrant that such property or operations are safe,
healthful, or in compliance with any law, rule or regulation.

Iv. INSUREDS' DUTIES

A. When an insured becomes aware of any claim or suit to which this policy applies, or any incident which is
#kely to result in such a claim or suit, such insured or his or her representative must report such incident,
claim or suit as soon as practicable.

B. ach insured shall cooperate with us and, upon our request, assist in making settlements, in the conduct of
suits, and in enforcing any night of contribution or indemnity against any person or organization who may be
liable to such insured because of injury with respect to which insurance is afforded under this policy, and the
insured shail attend hearings and trials and assist in securing and giving evidence and obtaining the
attendance of witnesses. No insured shali make any payment, assume any obligation, accept responsibility
or provide information concerning the incident except to us or such insured’s legal counsel.

C. IF a claim is made or suit is brought against any insured, such insured shall immediately forward to us every
demand, notice, summons or other process received by such insured or any representative of such insured.

D. No insured shall alter, destroy, or dispose of patient records or otherwise misrepresent or conceal facts
pertinent to any incident, claim or suit.

E. Each insured shall notify us in writing, wilhin thirty (30) days after the occurrence of any one or more of the
follawing:

J. Such insured undergoes treatment, or is advised by a physician, peer review committee, hospital
credentialling committee or licensing agency to undergo treatment for alcohol, drug or other substance
abuse, or for psychiatric iliness: .

2. Such insured suffers an illness or physical defect which impairs, or is likely to impair, such insured’s
ability to practice for a period of thirty (30) days or more;

3. Such insured is convicted of, or pleads guilty or no contest to, any felony or misdemeanor other than
minor traffic offenses;

4. Such insured's license to practice medicine or dentistry, or to dispense medicine, or otherwise to deliver
heaith care services of any type, is revoked, suspended, surrendered or limited in any respect, or such
insured Is called to appear before any licensing agency, peer review committee, professional standards
review committee or credentialing committee in a proceeding seeking to terminate, revoke or limit such
insured’s employment ar privilege to practice; or

5. Such insured's privilege to practice is terminated, revoked or limited by the policyholder, any hospital or
other employer, whether by reason of termination of empioyment or otherwise.

if any insured fails to comply with any obligations under this policy, our obligations to such insured under this

policy shall terminate, including any liability or obligation to defend, prosecute or continue any litigation.

Vv. CLAIMS AGAINST US

No claim snail lie against us unless, as a condition precedent thereto, there shall have been full compiiance with all
of the terms of this policy, nor until the ammount of any insured’s obligation to pay shall have been finally determined
aither by judgment against an insured after actual trial or by written agreement of such insured, the claimant, and
us. Any person or organization or the legal representative therecf who has secured such judgment or written
agreement shall thereafter be entitled to recover under this policy to the extent of the insurance afforded by this
policy. No person or organization shall have any right under this policy to join us as a partly to any action against
an insured to determine the insured's liability, nor shall we be impleaded by an insured or any legal
representative.

Our liability in any cause of action based on allegations that we did not fulfill our obligations to any insured in good

faith shali not exceed the value of the insured’s assets that are iegally subject to attachment and levy by a

judgment creditor after payment of all sums available through this policy. For purpeses of this limitation, the “value

of the insured’s assets” shall be determined as of the date of the judgment rendered against the insured and shall
not include the subject cause of action against us.

Bankruptcy or insolvency of any insured or any insured’s estate shall not relieve us of any of our obligations

hereunder.

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Any claim against us, including without limitation any cause of action that relates to or arises in connection with this
policy, or that is based on allegations that we did not fulfill our obligations to any insured in good faith, shall be
brought in arbitration pursuant to Section XII! below.

OTHER INSURANCE

A. With respect to loss arising from peer review services (other than peer review services performed on our
behalf}, the insurance provided by this policy is excess over any other insurance.

B. Insurance provided to any insured by “Additional Limits of Liability," as specified in the Coverage Summary,
shall apply only after exhaustion of the “Primary Limits of Liability” specified in the Coverage Summary for
such insured. Insurance provided by Additional Limits of Liability shall be in excess of, and shall not
contribute with, any other insurance. |f Additional Limits of Liability are provided, we shail, after the Primary
Limits of Liability have been exhausted, have no duty to defend any suit that any other insurer has a duty to
defend.

C. Except as provided in A or B, and any endorsement forming a part of this policy, this insurance is primary.

D. When doth this insurance and other insurance apply to loss on the same basis, whether primary, excess or
contingent, we shali not be liable under this policy fer a greater proportion of the loss than that stated in the
applicable contribution provision below:

1. If all of such other insurance provides for contribution by equal shares, we shall not be liable for a
greater proportion of such foss than would be payable if each insurer contributes an equal share until
the share of each insurer equals the lowest applicable limit of liability under any one policy or the full
amount of loss is paid, and with respect to any amount of loss not so paid, the remaining insurers
then continue to contribute in equal shares of the remaining amount of the loss until each insurer has
paid its tirmit in full or the full amount of the loss is paid,

2. If any such other insurance does not provide for contribution by equal stares, we shall not be liable
for a greater proportion of such loss than the applicable limit of liability under this policy for such loss
bears to the total applicabie limit of liability of all valid and collectible insurance against such loss.

SUBROGATION

In the event of any payment under this policy, we shall be subrogated to any insured’s rights of recovery therefor
against any person or organization, and any such insured shall execute and deliver instruments and papers and do
whatever else is necessary to secure such rights. No insured shall do anything to prejudice such rights.

ASSIGNMENT

No insured may assign any interest in this policy. If, however, any insured shall die, such insurance as afforded by
this policy shall apply to such insured’s legal representative, as an insured, but only while acting within the scope
of the representative's duties as such. No insured shall assign any cause of action against us that relates to or
arises in connection with this policy, or that is based on allegations that we did not fulfill our obligations to any
insured in good faith.

CHANGES

Notice to any agent or knowledge pessessed by any agent or by any other person shall not effect a waiver or
change in any part of this policy or estop us from asserting any right under the terms of this policy: nor shall the
terms of this policy be waived or changed, except by endorsement issued te form a part of this policy.

CANCELLATION

This policy, or coverage of any insured thereunder, may be canceled by the policyholder by mailing to us written
notice stating when thereafter the cancellation shall be effective. This policy, or coverage of any insured
thereunder, may be canceled by us by mailing to the policyholder, at the address shown in the Coverage
Summary, written notice stating when such cancellation shall be effective, in accordance with applicable state law.
The effective date and hour of cancellation stated in the notice shall become the end of the policy period for each
insured to which such cancellation applies. Delivery of such written notice either by the policyholder or by us shall
be equivalent to mailing. if the policyholder cancels, earned premium shall be computed in accordance with the
customary short rate table and procedure. If we cancel, earned premium shalt be computed pro rata. Premium
adjustment may be made either at the time cancellation is effected or as scon as practicable after cancellation
becomes effective, bui payment or tender of unearned premium is not a condition of cancellation.

RENEWAL OF POLICY

Neither the policyholder nor we have any obligation to renew this policy. Any renewal! will be on the policy forms
and endorsements then in effect. If we elect not to renew this policy, or coverage of any insured thereunder, notice
of nonrenewal shall be given in accordance with applicable state law,

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FRAUD AND MISREPRESENTATIONS

By acceptance of this policy, all insureds agree that the statements in the Coverage Summary and in their
respective applications or renewal applications for insurance are their agreements and representations, thal this
policy is issued in reliance upen the truth of such representations, and that this policy embodies all agreements
existing between themselves and us or any of our agents relating to this insurance. In the event of any fraud,
material misrepresentation or omission by any insured in any application or renewal application for insurance, this
policy is void as to the party committing such fraud, material misrepresentation or omission, no coverage is
afforded to such party hereby, and such party shall have no right to purchase a Reporting Endorsement.

ARBITRATION

Both the insureds and we acknowledge that this agreement evidences a transaction involving interstate commerce.
Any dispute, claim or controversy arising cut of, relating to or in connection with this policy, its subject matter or its
negotiation, as to the existence, validity, interpretation, performance, non-performance, enforcement, operation,
breach of contract, breach of warranty, continuance or termination thereof or any claim alleging fraud, deceit, or
suppression of any material fact or breach of fiduciary duty shall be submitted to binding arbitration in accordance
with Title 9 U.S.C. § 1 et seq. (The United States Arbitration Act):and the Commercial Arbitration Rules of the
American Arbitration Association. Such arbitration proceedings may be initiated by either party by nolice in writing to
the other anc to the American Arbitration Association. Each party to arbitration shall bear its own arbitration costs
and expenses. However, in the event any party is required to file a petition ar commence any such other proceeding
to compel arbitration, the arbitrator may award that party reasonable attorney's fees and costs incurred in having to
bring such action. The arbitrator shail have the discretion to order a pre-hearing exchange of information by the
parties, including, without dimitation, production of requested documents, exchanging of summaries of testimony of
proposed witnesses, and examination by deposition of parties. Notwithstanding contrary state law or regulation, the
arbitrator shail nave the authority to award any remedy or relief allowed under the provisions of the United States
Arbitration Act, including, without limitation, specific performance of any obligation created under this policy, the
awarding of punitive damages, the issuance of an injunction, or the imposition of sanctions for abuse or frustration
of the arbitration process. Any arbitration award shall be in writing and shall specify the factual and legal bases of
the award. Judgment on the award rendered by the arbitrator shail be final and may be entered in any court having
jurisdiction thereaf. The provisions hereof shall be a complete defense to any suit, action, or proceeding in any
federai, state or local court or before any administrative tribunai with respect to any dispute, claim or controversy
arising under this policy.

lf we maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary} is located, the arbitration shall proceed in any county in which we maintain such office in such state. If
we do not maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary} is located, the arbitration shali proceed in the county that includes the capital of the state in which the
address of the policyhoider (as specified in the Coverage Summary) is located.

GOVERNING LAW

This policy shall be construed, and the legal relations between us and ‘the insureds (and anyone claiming under
the insureds} shall be determined, in accordance with the laws of the state in which the address of the
policyholder, as specified in the Coverage Summary, is located, except that the Federal Arbitration Act (Title 9 of
the United States Code} shall appty to the rights and obligations of the parties to submit any dispute, claim or
controversy arising under this policy to arbitration, as provided in Section XIII above.

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EXHIBIT B
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HEALTH CARE PROFESSIONAL LIABILITY POLICY

DEFINITIONS

As used in this policy, the following terms shall have the following meanings:

Continuous coverage effective date means the effective date of the earliest policy issued by us to the insured, which
policy is followed by a continuous and unbroken period in which we provided coverage to the insured.

Cover Page means the Health Care Professional Liability Policy Cover Page, or any renewal or modification thereof.

Coverage Summary means the Heaith Care Professional Liability Policy Coverage Summary, or any renewal or
modification thereof.

Damages means all amounts of money which are payable under this policy because of injury, including death.

Insured means any insured dentist, any insured organization, any insured physician, any insured paramedical
employee, and any other covered employee.

insured dentist means any person designated as such in the Coverage Summary,

Insured organization means any partnership, professional corporation, professiona! association, limited iabitity
company, or other entity designated as an Insured Organization in the Coverage Summary.

Insured paramedical employee means any person designated as such in the Coverage Summary.
Insured physician means any person designated as such in the Coverage Summary.
Insured professional means any insured dentist or insured physician.

Other covered employee means any person whcse duties include the prevention, diagnosis and treatment of illness or
injury, other than a person practicing as a physician, surgeon, dentist, psychologist, nurse midwife, nurse anesthetist,
nurse practitioner, physician’s assistant, surgeon's assistant, perfusionist, optometrist, cytotechnologist, emergency
medical technician, or anesthesiologist assistant, or any person licensed, certified, or otherwise authorized to deliver
advanced level health care in the absence of direct supervision by a licensed physician.

Other insurance means any valid and collectible insurance, self insurance, self-insured retention, self-insured trust, or
risk transfer instrument of any kind, other than this policy, that provides defense or indemnity to any insured for any
claim, loss, liability, or damages covered by this policy.

Peer review services méaris service by an insured professional while acting within the scope of his or her duties as a
member off

A. a utilization and quality control peer review organization acting under contract with a federal or state health
care agency ta review the professionai activities of health care providers;

B. a duly constituted hospital, surgery center or long-term health care facility utilization review committee
providing review of services furnished by the institution and members of its medical or dental staff;

¢. aduly constituted hospital, surgery center, or dental center staff committee, consisting solely of members of
the medical or dental staff of such hospital, surgery center, of dental center for the evaluation and
improvement of quality of care:

D. a duly constituted hospital peer review committee, consisting solely of members of the medical or cental staff
of such hospital, having responsibility for: (1) reviewing qualifications and credentials of persons seeking
appointment or reappointment to a hospital medical staff, (2) evaluating the clinical or administrative
competence of persons so appointed, (3) matters concerning limiting the scope of hospital privileges of
persons on a hospital medical staff, or (4) matters concerning the dismissal or discharge of persons from a
hespital medical staff; or

FE. any peer review program conducted by us; and

F. with respect to insured dentists only, a duly constituted dental society peer review committee having
responsibility for evaluating the performance of services of other dentists or dental auxiliary personnel at the
request of government agencies, patients, dentists, providers of dental benefits, or third party insurers.

Policy means the Cover Page, the forms listed thereon, and any endorsements issued from time to time. The policy
terms in effect at the time a professional incident is first reported shall appiy to that professional incident.

Policyholder means the person or entity designated as such in the Coverage Summary.

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Policy period means the period specified as such in the Coverage Summary,
Professional incident means:

A. a singie act or omission, or a series of related acts or omissions during a continuing course of professional
services, arising out of the rendering of, or failure to render, professional services to any one person by an
insured or any person for whose acts or omissions an insured is legally responsible, which results, or is
likely to resuit, in damages; or

8. a single act or omission or a series of related acts or omissions by an insured physician or insured dentist
during the performance of peer review services which results, or is likely to result, in damages.

For purposes of this definition, treatment cf mother and fetus (or fetuses) from conception through postpartum care
constitutes a single professional incident.

Professional services means the provision of medical or dental services, including treatment, making diagnoses and
rendering opinions or advice.

Report, reported, and reporting mean, when used with respect to a professional incident, the giving by an insured or
his or her representative of notice of such professional incident either in writing or by telephone to our Claims
Department specifying (1) the date, time, and place of the professional incident, (2) a description of the professional
incident, (3) the name, address, and age of the patient or claimant, (4) the names of witnesses, including other treating
physicians, and (5) the circumstances resulting in the professional incident. ,

Reporting Endorsement (or “Tail Coverage”) means an endorsement issued with respect to an insured under Section
VI, VIE or Vill of the Professional Liability Coverage Part to provide coverage for professional incidents first reported
after the insurance provided by this policy terminates as to such insured.

Retroactive date means the retroactive date applicable to each insured as specified in the Coverage Summary.
We, our and us refer to the company that issued this policy and is designated as “THE COMPANY" on the Cover Page.

PROFESSIONAL LIABILITY COVERAGE PART

i. INSURING AGREEMENT

We agree to pay on behalf of each insured, subject to the applicable limit of liability, all sums which such insured
shall become legaily obligated to pay as damages because of any professional incident which occurs on or afier
the retroactive date applicable to such insured and which is first reported during the policy period; provided,
however, that insured paramedical employees and other covered employees are covered only for professional
incidents that occur while such persons are employed by an insured organization o7 insured professional and
acting within the scope of such employment and while engaged in the performance of professional services which
such persons hold any required license to perform. This insurance applies to professional incidents arising out of
professional! services or peer review services rendered anywhere in the world, provided that any resulting claim
or suit is prosecuted within the United States of America, its possessions or territories. This insurance does not
apply to any claim or suit asserted, filed, pursued, or prosecuted in or pursuant to the authority of any court, tribunal,
or other governmental or iegal authority outside the jurisdiction of the United States of America, its possessions and
territories.

Ih. INVESTIGATION, DEFENSE AND SETTLEMENT

We have the right to investigate any professional incident that we deem expedient. We have the right and duty to
defend any suit agains{ an insured seeking damages which, if awarded, would be covered by this policy, even if
any of the allegations of the suit are groundless, false or fraudulent, and we have the right, but not the duty, to
defend any claim against an insured seeking such damages. We have the right to select defense counsel in any
such claim or suit defended by us. We will not pay fees and expenses of any iegal counsel not retained by us. Ifa
claim or suit is asserted against more than one insured, we may retain the same legal counsel! to defend all
insureds, consistent with counsel's ethical duties to avoid conflict of interest.

We have the right to settle any claim or suit against an insured seeking damages which, if awarded, would be
covered by this policy; provided that no such settlement will be made without the written consent of the
policyholder uniess (a} the policyholder cannot be located and contacted after reasonable efforts are made by
us; or (b) the settlement is made after a verdict or judgment has been rendered against an insured.

We shall not be obligated to take an appeal from any judgment against an insured.

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We shall not be obligated to pay damages or to defend any sult after the applicable limit of liability has been
exhausted.

EXCLUSIONS
We will not pay damages because of any of the following, and we will not provide a defense for any suit alleging
any of the following:

A. In the case of any insured professional, liability arising out of the rendering of, or failure to render,
professional services by any person other than such insured professional for whose acts or omissions
such insured professional is liable solely by reason of his or her status as a member, partner, officer,
director of shareholder of any partnership, professional corporation, professional association, limited fiability
company, or other legal entity (other than an insured organization):

B. Liability of an insured as an owner, superintendent, administrator, irector, trustee, or officer of any hospital,
sanitanum, clinic with bed and board facilities, nursing home, ambulatory surgery center, laboratory, health
maintenance organization, preferred provider organization, exclusive provider organization or other similar
health care entity, or other business enterprise;

C. Liability assumed by an insured under any contract or agreement, whether oral, written or implied, except to
the extent that coverage for such liability would be available to such insured in the absence of such contract
or agreement;

D. Liability arising out of any wilful, wanton, fraudulent, criminal or malicious act or omission;

E. Liability arising in whole or in part out of sexual activity, cr acts in furtherance of sexual activity whether under
the guise of professional services or not;

F, Injury to any employee of an insured unless arising from the treatment of the employee as a patient of such
insured;

G. Any obfigation for which an insured or any carrier as insurer may be held fiable under any workers’
compensation, unemployment compensation, disability benefits, or any similar law;

H, Liability arising out of any act or omission of an insured (1) for which such insured does not hoid any
required license to perform, (2) which occurs during any time such insured’s license to practice his or her
profession has been suspended, revoked or voluntarily surrendered, or (3) which constitutes a violation of any
restriction imposed upon such license;

Liability arising out of any antitrust violation (except for antitrust violations arising from peer review services
for which coverage is otherwise afforded), unfair competition, discrimination, or any other act or omission
which violates any statute, ordinance ar regulation imposing any fine, penalty or other sanction;

J. Any professional incident which has been reported to another insurance carrier prior fo the continuous
coverage effective date; any professional incident which occurred prior to the continuous coverage
effective date, if on such date, the insured knew or believed, or had reason to know or believe, that such
professional incident had occurred; or any professional incident that occurred during a period in which the
insured was not covered under a paiicy of professional liability insurance;

K. Liability arising out of any claim or investigation instituted by a patient of any insured alleging errors or
omissions by the insured in billing statements for professional services rendered to such patient;

L. Liability arising out of any professional incident that occurs while an insured fs impaired by alcohol or drugs;
or

M. — Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as double
or treble damages) awarded against an insured.

LIMITS OF LIABILITY AND DEDUCTIBLES

The limits of fiability specified in the Coverage Summary as applicable to each insured professional shall apply to
all claims or suits made or brought against such insured professional (except that claims or suits arising out of the
rendering of, of failure to render, professional services by any person.other than such insured professional for
whose acts or omissions such insured professional may be held liabie as a member, partner, officer, director or
shareholder of an insured organization shall be charged against the limit of liability of the insured organization).

The limits of tabiity specified in the Coverage Summary as applicable to each insured paramedical employee
shall apply to all claims or sults made or brought against such insured paramedical employee.

The limits of lability specified in the Coverage Summary as applicable to an insured organization shall appiy to
all claims or suits made or brought against (1) the insured organization; (2) any other covered employee; and (3)
any insured professional, provided such liability arises out of the rendering of, or failure to render, professional

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services by any person other than such insured professional for whose acts or omissions such insured
professional is liable solely by reason of his or her status as a member, partner, officer, director or shareholder of
the insured organization.

The limit of liability specified in the Coverage Summary for each insured as "each professional incident’ is the total
of our liability to such insured resulting from any one professional incident. The limit of liability stated in the
Coverage Summary for each insured as “annual aggregate” is the total limit of our liability to such insured
resulting from all professional incidents which are first reported during the policy period.

The limit of tiability shall apply regardiess of:

A. the number of persons or entities claiming damages covered by this policy;
B. the number of claims or suits brought on account of a professionai incident,
C. the number of insureds under this policy; or

DB, the inclusion of an additional insured.

If Additional Limits of Liability are shown in the Coverage Summary for any insured, such Additionat Limits of
Liability shall apply only to (1) professional incidents which occur after the Additional Coverage Retroactive Date
shown for such insured in the Coverage Summary and (2) after exhaustion of the Primary Limits of Liability
applicable to such insured.

We shall have the right to allocate damages or supplementary payments among claimants, insureds, and policies
as we deem appropriate.

lf a Reporting Endorsement is issued, our liability for all professional incidents first reported after the effective
date of the Reporting Endorsement shall be as stated therein.

If a “Deductible” is shown for any insured in the Coverage Summary as applicable to this Coverage Part, such
insured shal! be liable for each professional incident reported in an amount equal to the Deductible shown in the
Coverage Summary, and our limit of ilability will be reduced by such amount. In the event we pay on behalf of an
insured alt or part of the deductible as damages, the policyholder shail reimburse us for the amount of any such
payment within thirty (30} days after written demand. The policyholder agrees to pay all costs incurred by us,
including attorneys’ fees and court costs, incurred by us in collecting any reimbursement.

SUPPLEMENTARY PAYMENTS
We will pay, in addition to the applicable limit of fiability:

A. all expenses incurred by us, all costs taxed against an insured in any suit defended by us, and interest
accruing on a judgment or award against an insured before we have paid, tendered, or deposited in court
that part of the judgment which does not exceed the limit of our. liability thereon, provided that we will pay
interest only on that portion of the judgment or award that does not exceed the applicable limit of liability; and

B. premiums cn appeal bonds required in any suit defended by us, and premiums on bonds to release
attachments in any such suit, for an amount not in excess of the applicable iimit of liability of this policy, but
we shall have no obiigation to apply for or furnish any such bond.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED ORGANIZATIONS

In the event of termination of the insurance afforded by this policy, either by nonrenewal or cancellation, any
insured organization shali have the right, upon the payment of an additional premium (to be computed in
accordance with our rules, rates, rating plan and premiums applicabie on the effective date of the endorsement), to
have issued a Reporting Endorsement providing coverage for professional incidents occurring prior to the
termination date and otherwise covered by this policy, but which are first reported after such termination date.
Such right must be exercised by such insured organization by making payment to us not later than thirty (30) days
after such termination date.

Notwithstanding the foregoing, if the insurance provided by this policy to any insured organization which shares
limits with one or more insured professionals terminates by reason of the dissolution or other termination of
activity by such insured organization, such insured organization shall continue to be covered for professional
incidents which occur while such insured organization is active, even though any such professional incident
may not be reported until after the insured organization ceases activity, as long as such professional incident is
first reported within the policy period applicable to the insured .professionais with whom the insured
organization shares limits.

the Reporting Endorsement issued to an insured organization pursuant to this Section Vi shall provide
coverage only for such insured organization and its other covered employees, Such Reporting Endorsement

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shall not provide coverage to any insured professional or insured paramedical employee. insured
professionals and insured paramedical employees must cbtain individual Reporting Endorsements as
provided in Sections VII and VIH below.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PROFESSIONALS

If the insurance afforded by this policy to an insured professional terminates, either by nonrenewal or
cancelation, such insured professional shail have the right, upon the payment of an additional premium (to be
computed in accordance with our rules, rates, rating pian and premiums applicable on the effective date of the
endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us, providing
coverage for professional incidents occurring prior to the termination date and for which such insured
professional is otherwise covered by this policy, but which are first reported after such termination date. Such
right must be exercised by an insured professional by making payment to us not later than thirty (30) days after
such termination date.

Notwithstanding the foregoing, a Reporting Endorsement shall be issued in accordance with our rules on the
effective date of the endorsement to an insured professional automatically and without payment of any additional
premium in case the termination of insurance results from:

A, the death of such insured professional;

B, the permanent and total retirement by such insured professional from the practice of medicine, but only if
such insured professional shall have been insured continuously by us for the preceding five years. The
insured professional must submit an affidavit satisfactory to us in which the insured professional confirms
an intention to permanently and totally retire fram the practice of medicine and agrees to pay a premium fer the
Reporting Endorsement if such insured professional recommences the practice of medicine within five
years after delivering such affidavit;

C. the permanent and total disability of such insured professional resuiting in the inability to continue the
professional activity or endeavor in which such insured professional was theretofore engaged, but only if such
permanent and total disability:

1. shall have continued without significant interruption for a term of not less than six months prior to
termination; and

2. shall have required regular treatment by a fegally qualified medical or surgical practitioner other than such
insured professional.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PARAMEDICAL EMPLOYEES

Hf the insurance afforded by this policy to an insured paramedical employee terminates, eliher by nonrenewal or
cancellation, such insured paramedical employee shail have the right, upon the payment of an additional premium
(to be computed in accordance with our rules, rates, rating plan and premiums applicable on the effective date of
the endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us for
individual coverage, providing coverage for professional incidents occurring prior to the termination date and for
which such insured paramedical employee is otherwise covered by this policy, but which are first reported after
such termination date. Such right must be exercised by an insured paramedical employee by making payment to
us not later than thirty (30) days after such termination cate.

Notwithstanding the foregoing, if the insurance provided by this policy to any insured paramedical employee who
shares limits with one or more Insured professionals terminates, such insured paramedical employee shall
continue to be covered for professional incidents that occurec while such insured paramedical employee was
employed by the insured professional with whom he or she shares limits of liability, even though any such
professional incident may not be reported until after the insured paramedical employee is no longer so
employed, as long as such professional incident is first reported within the policy period applicable to the
insured professional with whom the insured paramedical employee shares limits.

GENERAL CONDITIONS

PREMIUM

All premiums shall be computed in accordance with our rules, rates, rating plans, premiums and minimum
premiums applicable to the insurance afforded herein.

RIGHTS AND DUTIES OF POLICYHOLDER

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Unless named as an insured in the Coverage Summary, the policyholder is not an insured and shall have no
coverage under this policy. However, the policyholder shail pay all premiums, receive all return premiums, provide
any consents, including consent to settle, as may be required, and receive alf notices and invoices under this
policy. Al} provisions in the General Conditions which are applicable to the insureds shall also apply to the
policyhoider.

Wl. INSPECTION

We shall be permitted but not obligated to inspect any insured’s property and operations al any time. Neither our
right to make inspections nor the making thereof ner any report thereon shail constitute an undertaking, on behalf of
or for the benefit of any insured or others, to determine or warrant that such property or operations are safe,
healthful, or in compliance with any law, rule or regulation.

IV. INSUREDS’ DUTIES

A, When an insured becomes aware of any claim or suit to which this policy applies, or any incident which is
likely to result in such a claim or suit, such insured or his or her representative must report such incident,
claim or suit as soon as practicable.

B, Each insured shall cooperate with us and, upon our request, assist in making settlements, in the conduct of
suits, and in enforcing any right of contribution or indemnity against any person cr organization who may be
liable to such insured because of injury with respect to which insurance is afforded under this policy, and the
insured shall attend hearings and trials and assist in securing and giving evidence and obtaining the
attendance of witnesses. No insured shall make any payment, assume any obligation, accept responsibility
or provide information concerning the incident except to us or such insured’s legal counsel.

C. if a claimis made or suit is brought against any insured, such insured shall immediately forward to us every
demand, notice, summons or other process received by such insured or any representative of such insured.

D. No insured shall alter, destroy, or dispose of patient records or otherwise misrepresent or conceal facts
pertinent to any incident, claim or suit.

E. Each insured shall notify us in writing, within thirty (30} days after the occurrence of any one or more of the
following: :

1. Such insured undergoes treatment, or is advised by a physician, peer review committee, hospital
credentialing committee or licensing agency to undergo treatment for alcohol, drug or other substance
abuse, or for psychiatric illness;

2. Such insured suffers an iilness or physical defect which impairs, or is likely to impair, such insured's
ability to practice for a period of thirty (30) days or more;

3. Such insured is convicted of, or pleads guilty or no contest to, any felony or misdemeanor other than
minor fraffic offenses;

4. Such insureds license to practice medicine or dentistry, or to dispense medicine, or otherwise to deliver
health care services of any type, is revoked, suspended, surrendered or limited in any respect, or such
insured is called to appear before any licensing agency, peer rewew committee, professional standards
review committee or credentialling committee in a praceeding seeking to terminate, revoke or jimit such
insured's employment or privilege to practice: or

5. Such insured's privilege to practice is terminated, revoked or limited by the policyholder, any hospital or
other empioyer, whether by reason of termination of emplayment or otherwise.

If any insured fails {o comply with any obligations under this policy, our obligations to such insured under this
policy shalt terminate, including any liability or obligation to defend, prosecute or continue any litigation.

V. CLAIMS AGAINST US

No claim shall lie against us unless, as a condition precedent thereto, there shall have been full compliance with all
of the terms of this policy, nor until the amount of any insured’s obligation to pay shall have been finally determined
either by judgment against an insured after actual trial or by written agreement of such Insured, the claimant, and
us. Any person or organization or the legal representative thereof who has secured such judgment or written
agreement shall thereafter be entitled to recover under this policy to the extent of the insurance afforded by this
policy. No person or organization shall have any right under this policy to join us as a party to any action against
an insured to determine the insured’s liability, nor shall we be impleaded by an insured or any legal
representalive.

Our iiability in any cause of action based on allegations that we did not fulfill our obligations to any insured in good
faith shall not exceed the value of the insured’s assets that are legally subject to attachment and levy by a

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judgment creditor after payment of all sums available through this policy. For purposes of this limitation, the “value
of the insured’s assets” shall be determined as of the date of the judgment rendered against the insured and shall
not include the subject cause of action against us,

Bankruptcy or insolvency of any insured or any insured’s estate shall not relieve us of any of our obligations
hereunder.

Any claim against us, including without limitation any cause of action that relates to or arises in connection with this
policy, or that is based on allegations that we did not fulfill our obligations to any insured in good faith, shall be
brought in arbitration pursuant to Section XIIl below,

OTHER INSURANCE

A. With respect to loss arising from peer review services (other than peer review services performed on our
behalf}, the insurance provided by this policy is excess over any other insurance.

B. Insurance provided to any insured by “Additionai Limits of Liability," as specified in the Coverage Summary,
shall apply only after exhaustion of the “Primary Limits of Liability” specified in the Coverage Summary for
such insured. Insurance provided Sy Adaitional Limits of Liability shall be in excess of, and shall net
contribute with, any other insurance. If Additional Limits of Liability are provided, we shall, after the Primary
Limits of Liability have been exhausted, have no duty to defend any suit that any other insurer has a duty fo
defend.

c. Except as provided in A or B, and any endorsement forming a part of this policy, this insurance is primary.

OD. When both this insurance and other insurance apply to loss on the same basis, whether primary, excess or
contingent, we shall not be liable under this policy for a greater proportion of the loss than that stated in the
applicable contribution provision below:

1. If all of such other insurance provides for contribution by equal shares, we shall not be liable for a
greater proportion of such loss than would be payable if each insurer contributes an equal share until
the share of each insurer equals the lowest applicable limit of liability under any one policy or the full
amount of loss is paid, and with respect to any amount of loss not so paid, the remaining insurers
then continue to contribute in equal shares of the remaining amount of tne loss until each insurer has
paid its limit in full or the full amount of the loss is paid.

2. If any such other insurance does not provide for contribution by equal shares, we shall not be liable
for a greater proportion of such loss than the applicable limit of liability under this policy for such loss
bears to the total applicable limit of liability of all valid and collectible insurance against such loss.

SUBROGATION

In the event of any payment under this policy, we shail be subrogated to any insured’s rights of recovery therefor
against any person or organization, and any such insured shall execute and deliver instruments and papers and do
whatever else is necessary fo secure such rights. No insured shail do anything to prejudice such rights.

ASSIGNMENT

No insured may assign any interest in this policy. If, however, any insured shall die, such insurance as afforded by
this policy shall apply to such iInsured’s legal representative, as an insured, but only while acting within the scope
of the representative's duties as such. No insured shall assign any cause of action against us thal relates to or
arises in connection with this policy, or that is based on allegations that we did not fulfill our obligations to any
insured in good faith.

CHANGES

Notice to any agent or knowledge possessed by any agent or by any other person shall not effect a waiver or
change in any part of this policy or estop us from asserting any right under the terms of this policy; nor shall the
terms of this policy be waived or changed, except by endorsement issued to form a part of this policy.

CANCELLATION

This policy, or coverage of any insured thereunder, may be canceled by the policyholder by mailing to us written
notice stating when thereafter the cancellation shail be effective. This policy, or coverage of any insured
thereunder, may be canceled by us by mailing to the policyholder, at the address shown in the Coverage
Summary, written notice stating when such cancellation shall be effective, in accordance with applicable state law.
The effective date and hour of cancellation stated in the notice shall become the end of the policy period for each
insured to which such cancellation applies. Delivery of such written notice either by the policyholder or by us shall
be equivalent to mailing. If the policyholder cancels, earned premium shall be computed in accordance with the
customary short rate table and procedure. If we cancel, earned premium shail be computed pro rata. Premium

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adjustment may be made either at the time cancellation is effected or as soon as practicable after cancellation
becomes effective, buf payment or tender of unearned premium is not a condition of cancellation.

RENEWAL OF POLICY

Neither the policyholder nor we have any obligation to renew this policy. Any renewal will be on the policy forms
and endorsements then in effect. If we elect not to renew this policy, or coverage of any insured thereunder, notice
of nonrenewal shall be given in accordance with applicable state law.

FRAUD AND MISREPRESENTATIONS

By acceptance of this policy, all insureds agree that the statements in the Coverage Summary and in their
respective applications or renewal applications for insurance are their agreements and representations, that this
policy is issued in reliance upon the truth of such representations, and that this policy embodies all agreements
existing between themselves and us or any of our agents relating to this insurance. In the event of any fraud,
material misrepresentation or omission by any insured in any application or renewal application for insurance, this
policy is void as to the party committing such fraud, material misrepresentation or omission, no coverage is
afforded to such party hereby, and such party shall have no right to purchase a Reporting Endorsement.

ARBITRATION

Both the insureds and we acknowledge that this agreement evidences a transaction involving interstate commerce.
Any dispute, claim or controversy arising out of, relating to or in connection with this policy, its subject matter or its
negotiation, as to the existence, validity, interpretation, performance, non-performance, enforcement, operation,
breach of contract, breach of warranty, continuance or termination thereof or any claim alleging fraud, deceit, or
suppression of any material fact or breach of fiduciary duty shalf be submitted to binding arbitration in accordance
with Title 9 U.S.C. § 1 et seq. (The United States Arbitration Act) and the Commercial Arbitration Rules of the
American Arbitration Association. Such arbitration proceedings may be initiated by either party by notice in writing to
the cther and to the American Arbitration Association. Each party to arbitration shall bear its own arbitration costs
and expenses. However, in the event any party is required to file a petition or commence any such other proceeding
to compel arbitration, the arbitrator may award that party reasonable attorney’s fees and costs incurred in having to
bring such action. The arbitrator shall have the discretion to order a pre-hearing exchange of information by the
parties, including, without imitation, production of requested documents, exchanging of summaries of testimony of
proposed witnesses, and examination by deposition of parties. Notwithstanding contrary state law or regulation, the
arbitrator shall have the authority to award any remedy or relief allowed under the provisions of the United States
Arbitration Act, including, without limitation, specific performance of any obligation created under this policy, the
awarding of punitive damages, the issuance of an injunction, or the imposition of sanctions for abuse or frustration
of the arbitration process. Any arbitration award shall be in writing and shall specify the factual and legal bases of
the award. Jucgment on the award rendered by the arbitrator shall be final and may be entered in any court having
jurisdiction thereof. The provisions hereof shall be a complete defense to any suit, action, or proceeding in any
federal, state or local court or before any adrinistrative tribunal with respect to any dispute, claim or controversy
arising under this policy.

If we maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary) is located, the arbitration shall proceed in any county in which we maintain such office in such state. if
we do not maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary) is located, the arbitration shall proceed in the county that includes the capital of the state in which the
address of the policyholder (as specified in the Coverage Summary} is located.

GOVERNING LAW

This policy shall be construed, and the legal relations between us and the insureds (and anyone claiming under
the insureds) shali be determined, in accordance with the laws of the state in which the address of the
policyholder, as specified in the Coverage Summary, is located, except that the Federal Arbitration Act (Title 9 of
the United States Code) shall apply to the rights and obligations of the parties to submit any dispute, claim or
controversy arising under this policy to arbitration, as provided in Section XIll above.

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EXHIBIT C
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HEALTH CARE PROFESSIONAL LIABILITY POLICY

DEFINITIONS

As used in this policy, the following terms shall have the following meanings:

Continuous coverage effective date means the effective date of the earliest policy issued by us to the insured, which
policy is followed by a continuous and unbroken period in which we provided coverage to the insured.

Cover Page meas the Health Care Professional Liability Policy Cover Page, or any renewal or modification thereof.

Coverage Summary means the Health Care Professional Liability Policy Coverage Summary, or any renewal or
modification thereof.

Damages means all amounts of money which are payable under this policy because of injury, including death.

Insured means any insured dentist, any insured organization, any insured physician, any insured paramedical
employee, and any other covered employee.

Insured dentist means any person designated as such in the Coverage Summary.

Insured organization means any partnership, professional corporation, professional association, limited liability
company, or other entity designated as an Insured Organization in the Coverage Summary.

Insured paramedical employee means any person designated as such in the Coverage Summary.
Insured physician means any person designated as such in the Coverage Summary.
Insured professional means any insured dentist or insured physician.

Other covered employee means any person whose duties include the prevention, diagnosis and treatment of iliness or
injury, other than a person practicing as a physician, surgeon, dentist, psychologist, nurse midwife, nurse anesthetist,
nurse practitioner, physician's assistant, surgeon's assistant, perfusionist, optometrist, cytotechnologist, emergency
medical technician, or anesthesiologist assistant, or any person licensed, certified, or otherwise authorized to deliver
advanced level health care in the absence of direct supervision by a licensed physician.

Other insurance means any valid and collectible insurance, self insurance, self-insured retention, self-insured trust, or
risk transfer instrument of any kind, olher than this policy, that provides defense or indemnity to any insured for any
claim, loss, lability, or damages covered by this policy.

Peer review services means service by an insured professional while acting within the scope of his or her duties as a
member of:

A. a utilization and quality control peer review organization acting under contract with a federal or state heaith
care agency to review the professional activities of health care providers;

B. a duly constituted hospital, surgery center or long-term health care facility utilization review committee
providing review of services furnished by the institution and members of its medical or dental staff;

C. a duly constituted hospital, surgery center, or dental center staff cammittee, consisting solely of members of
the medical or dental staff of such hospital, surgery center, or dental center for the evaluation and
improvement of quality of care;

D.  aduly constituted hospital peer review committee, consisting solely of members of the medical or dental staff
of such hospital, having responsibility for; (1) reviewing qualifications and credentials of persons seeking
appointment or reappointment to a hospital medical staff, (2) evaluating the clinical or administrative
competence of persons so appointed, (3) matters concerning limiting the scope of hospital privileges of
persons on a hospital medical staff, or (4) matters concerning the dismissal or discharge of persons from a
hospital medical staff; or

E—. — any peer review program conducted by us; and

F. with respect to insured dentists only, a duly constituled dental sociely peer review committee having
responsibility for evaluating the performance of services of other dentists or denial auxiliary personnel at the
request of government agencies, patients, dentists, providers of dental benefits, or third party insurers.

Policy means the Cover Page, the forms listed thereon, and any endorsemenis issued from time to time. The policy
terms in effect ai the time a professional incident is first reported shall apply to that professional incident.

Policyholder means the person or entity designated as such in the Coverage Summary.
Policy period means the period specified as such in the Coverage Summary.

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Professional incident means:

A. a single act or omission, or a series of related acts or omissions during a continuing course of professional
services, arising out of the rendering of, or failure to render, professional services to any one person by an
insured of any person for whose acts or omissions an insured is legally responsible, which results, or is
likely to result, in damages; or

B. a single act or omission or a series of reiated acts or omissions by an insured physician or insured dentist
during the performance of peer review services which results, or is likely to result, in damages.

For purposes of this definition, treatment of mother and fetus (or fetuses) from conception through postpartum care
constitutes a single professional incident.

Professional services means the provision of medical or dental services, including treatment, making diagnoses and
rendering opinions or advice.

Report, reported, and reporting mean, when used with respect to a professional incident, the giving by an insured or
his or -ner representative of notice of such professional incident either in writing or by telephone to our Claims
Depariment specifying (1) the date, time, and place of the professional incident, (2) a description of the professional
incident, (3} the name, address, and age of the patient or claimant, (4) the names of witnesses, including other treating
physicians, and (5) the circumstances resulting in the professional incident.

Reporting Endorsement (or “Tail Coverage") means an endorsement issued with respect to an insured under Section
VI, Vil of VIIL of the Professional Liability Coverage Part to provide coverage for professional incidents first reported
after the insurance provided by this policy terminates as to such insured.

Retroactive date means the retroactive date applicable to each insured as specified in the Coverage Summary.
We, our and us refer to the company that issued this policy and is designated as “THE COMPANY” on the Cover Page.

PROFESSIONAL LIABILITY COVERAGE PART

E. INSURING AGREEMENT

We agree to pay on behalf of each insured, subject to the applicable Jimit of liability, all sums which such insured
shall become tegally cbligated to pay as damages because of any professional incident which occurs on or after
the retroactive date applicable to such insured and which is first reported during the policy period; provided,
however, that insured paramedical employees and other covered employees are covered only for professional
incidents that occur while such persons are employed by an insured organization or insured professional and
acting within the scope of such employment and while engaged in the performance of professional services which
such persons hold any required license to perform. This insurance applies to professional incidents arising out of
professional services or peer review services rendered anywhere in the worid, provided that any resulting claim
or suit is prosecuted within the United States of America, its possessions or territories. This insurance does not
apply to any claim or suft asserted, filed, pursued, or prosecuted in or pursuant to the authority of any court, tribunal,
or other governmental or legal authority outside the jurisdiction of the United States of America, its possessions and
territories.

li. INVESTIGATION, DEFENSE AND SETTLEMENT

We have the right to investigate any professional incident that we deem expedient. We have the right and duty to
defend any suit against an insured seeking damages which, if awarded, would be covered by this policy, even if
any of the allegations of the suit are groundless, false or fraudulent, and we have the right, but not the duty, to
defend any claim against an insured seeking such damages. We have the right to select defense counsel in any
such claim or suit defended by us. We will not pay fees and expenses of any legal counsel not retained by us. Ifa
claim or suit is asserted against more than one insured, we may retain the same legal counsel to defend all
insureds, consistent with counsel's ethical duties to avoid conflict of interest.

We have the right to settle any claim or sult against an insured seeking damages which, if awarded, would be
covered by this policy; provided that no such settlement will be made without the written consent of the
policyholder unless (a) the policyholder cannot be located and contacted after reasonable efforts are made by
us; or (b) the settlement is made after a verdict or judgment has been rendered against an insured.

We shall not be obligated to take an appeal fram any judgment against ar insured.

We shall not be obligated to pay damages or to defend any suit after the applicable limit of liability has been
exhausted.

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EXCLUSIONS

We will not pay damages because of any of the following, and we will not provide a defense for any suit alleging
any of the following:

A. in the case of any insured professional, liability arising out of the rendering of, or failure to render,
professional services by any person other than such insured professional for whose acts or omissions
such insured professional is liable solely by reason of his or her status as a member, partner, officer,
director or shareholder of any partnership, professional corporation, professional association, limited liability
company, or other legal entity (other than an insured organization);

B. Liability of an insured as an owner, superintendent, administrator, director, trustee, or officer of any hospital,
sanitarium, clinic with bed and board facilities, nursing home, ambulatory surgery center, laboratory, health
maintenance organization, preferred provider organization, exclusive provider organization or other similar
health care entity, or other business enterprise;

C, Liability assumed by an insured under any contract or agreement, whether oral, written or implied, except to
the extent that coverage for such liability would be available to such insured in the absence of such contract
or agreement;

D. Liability arising out of any willful, wanton, fraudulent, criminal or malicious act or omission,

E. Liabikty arising in whole or in part out of sexual activity, or acts in furtherance of sexual activity whether under
ihe quise of professionat services or nat;

F. Injury to any employee of an insured unless arising from the treatment of the employee as a patient of such
insured;

G. Any obligation for which an insured or any carrier as insurer may be held liable under any workers’
compensation, unemployment compensation, disability benefits, or any similar law;

H. Liability arising out of any act or omission of an insured (1) for which such insured does not hold any
required license to perform, (2) which occurs during any time such insured’s license to practice his or her
profession has been suspended, revoked or voluntarily surrendered, or (3) which constitutes a violation of any
restriction imposed upon such license;

lL. Liability arising cut of any antitrust violation (except for antitrust violations arising from peer review services
for which coverage is otherwise afforded}, unfair competition, discrimination, or any other act or omission
which violates any siatute, ordinance or regulation imposing any fine, penalty or other sanction;

J. Any professional incident which has been reported to another insurance carrier priar to the continuous
coverage effective date; any professional incident which occurred prior to the continuous coverage
effective date, if on such date, the insured knew or believed, or had reason to know or believe, that such
professional incident had occurred; or any professional incident that occurred during a period in which the
insured was not covered under a policy of professional liability insurance;

K, Liability arising cut of any claim or investigation instituted by a patient of any insured alleging errors or
omissions by the insured in billing statements for professional services rendered to such patient;

L. Liability arising out of any professional incident that occurs while an insured is impaired by alcohol or drugs;
or

M, Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as double
or treble damages) awarded against an insured.

LIMITS OF LIABILITY AND DEDUCTIBLES

The jinits of liability specified in the Coverage Summary as applicable to each insured professional shall apply to
all claims or suits made or brought against such insured professional (except that claims or sulls arising out of the
rendering of, or failure to render, professional services by any person other than such insured professional for
whose acts or omissions such insured professional may be held liabie.as a member, partner, officer, director or
shareholder of an insured organization shail be charged against the limit of liability of the insured organization).

The limits of liability specified in the Coverage Summary as applicable to each insured paramedical employee
shall apply to all claims or suils rnade or brought against such insured paramedical employee,

The fimits of liabiity specified in the Coverage Summary as applicable to an insured organization shall apply to
all claims or suits made or brought against (1) the insured organization; (2) any other covered employee; and (3)
any insured professional, provided such liability arises out of the rendering of, or failure to render, professional
services by any person other than such insured professional for whose acts or omissions such insured
professional is liable soiely by reason of his or her status as a member, partner, officer, director or shareholder of
the insured organization.

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The iimit of liability specified in the Coverage Summary for each insured as “each professional incident” is the total
of our ¥ability to such insured resulting from any one professional incident. The limit of liability stated in the
Coverage Summary for each insured as “annual aggregate” is the total limit of our ability to such insured
resulting from al! professional incidents which are first reported during the policy period.

The limit of liability shall apply regardless of:

A. the number of persons or entities claiming damages covered by this policy;
B. — the number of claims or suits brought on account of a professional incident:
C. the number of insureds under this policy; ar

D. the inclusion of an additional insured.

lf Additional Limits of Liability are shown in the Coverage Summary for any insured, such Additional Limits of
Liability shall apply only to (1) professional incidents which occur after the Additional Coverage Retroactive Date
shown for such insured in the Coverage Summary and (2) after exhaustion of the Primary Limits of Liability
applicable to such insured.

We shail have the right to allocate damages or supplementary payments among claimants, insureds, and policies
as we deem appropriate.

If a Reporting Endorsement is issued, our liability for all professional incidents first reported after the effective
date of the Reporting Endorsement shall be as stated therein.

lf a “Deductible” is shown for any insured in the Coverage Summary as applicable to this Ceverage Part, such
insured shall be liable for each professional incident reported in an amount equal to the Deductible shown in the
Coverage Summary, and our limit of ability will be reduced by such amount. In the event we pay on behalf of an
insured all or part of the deductible as damages, the policyhoider shail reimburse us for the amount of any such
payment within thirty (30) days after written demand. The pelicyholder agrees to pay all costs incurred by us,
including attorneys’ fees and court costs, incurred by us in collecting any reimbursement.

SUPPLEMENTARY PAYMENTS
We will pay, in addition to the applicable limit of liability:

A. — all expenses incurred by us, all costs taxed against an insured in any suit defended by us, and interest
accruing on a judgment or award against an insured before we have paid, tendered, or deposited in court
that part of the judgment which does not exceed the limit of our liability thereon, provided that we will pay
interest only on that portion of the judgment or award that does not exceed the applicable limit of liability; and

B. premiums on appeal bonds required in any suit defended by us, and premiums on bonds to release
attachments in any such suit, for an amount not in excess of the applicable limit of liability of this policy, but
we shall have no obligation to apply for or furnish any such bond. ~

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED ORGANIZATIONS

In the event of termination of ihe insurance afforded by this policy, either by nonrenewal or cancellation, any
insured organization shall have the right, upon the payment of an additional premium {to be computed in
accordance with our rules, rates, rating plan and premiums applicable on the effective date of the endorsement), to
have issued a Reporting Endorsement providing coverage for professional incidents occurring prior to the
termination date and otherwise covered by this policy, but which are first reported after such termination date.
Such right must be exercised by such insured organization by making payment to us not later than thirty (30) days
after such termination date.

Notwithstanding the foregeing, if the insurance provided by this policy to any insured organization which shares
limits with one or more insured professionals terminates by reason of the dissolution or other termination of
activity by such insured organization, such insured organization shail continue to be covered for professional
incidents which occur while such insured organization is active, even though any such professional incident
may not be reported until after the insured organization ceases activity, as long as such professional incident is
first reported within the policy period applicable to the insured professionals with whom the insured
organization shares limits.

The Reporting Endorsement issued to an insured organization pursuant to this Section VI shall provide
coverage only for such insured organization and its other covered employees. Such Reporting Endorsement
shall not provide coverage to any insured professional or insured paramedical employee. Insured
professionals and insured paramedical employees must obtain individual Reporting Endorsements as
provided in Sections Vil and VIII below.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PROFESSIONALS

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If the insurance afforded by this policy to an insured professional terminates, either by nonrenewal or
cancellation, such insured professional shall have the right, upon the payment of an additional premium (to be
computed in accordance with our rules, rates, rating plan and premiums applicable on the effective date of the
endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us, providing
coverage for professional incidents occurring prior to the termination date and for which such insured
professional is otherwise covered by this policy, but which are first reported after such termination date. Such
right must be exercised by an insured professional by making payment to us not later than thirty (30) days after
such termination date.

Notwithstanding the foregoing, a Reporting Endorsement shall be issued in accordance with our rules on the
effective date of the endorsement to an insured professional automatically and without payment of any additional
premium in case the termination of insurance results from:

A. the death of such insured professional:

B. the permanent and total retirement by such insured professional from the practice of medicine, but only if
such insured professional shail have been insured continuously by us for the preceding five years. The
insured professional must submit an affidavit satisfactory to us in which the insured professional confirms
an intention to permanently and totally retire from the practice of medicine and agrees to pay a premium for the
Reporting Endorsement if such insured professional recommences the practice of medicine within five
years after delivering such affidavit:

C. the permanent and total disability of such insured professional resulting in the inability to continue the
professional activity or endeavor in which such insured professional was iheretofore engaged, but only if such
permanent and total disability:

1. shall have continued without significant interruption for a term of not less than six months prior to
termination; and

2. shail have required regular veatment by a legally qualified medical or surgical practitioner other than such
insured professional.

REPORTING ENDORSEMENT PROVISION APPLICABLE TO INSURED PARAMEDICAL EMPLOYEES

lf the insurance afforded by this policy to an insured paramedical employee terminates, either by nonrenewal or
cancellation, such insured paramedical employee shall have the right, upon the payment of an additional premium
{to be computed in accordance with our rules, rates, rating plan and premiums applicable on the effective date of
the endorsement), to have issued a policy and a Reporting Endorsement, in the form then used by us for
individual coverage, providing coverage for professional incidents occurring prior to the termination date and for
which such insured paramedical employee is otherwise covered by this policy, but which are first reported after
such termination date. Such right must be exercised by an insured pararmedical employee by making payment to
us not later than thirty (30} days after such iermination date.

Notwithstanding the foregoing, if the insurance provided by this policy to any insured paramedical ernployee who
shares limits with one or more insured professionals terminates, such insured paramedical employee shail
cantinue to be covered for professional incidents that occured while such insured paramedical employee was
employed by the insured professional with whom he or she shares limits of liability, even though any such
professional incident may not be reported until after the insured paramedical employee is no longer so
employed, as long as such professional incident is first reported within the policy period applicable to the
insured professional with whom the insured paramedical employee shares limits.

GENERAL CONDITIONS

PREMIUM

All premiums shall be computed in accordance with our rules, rates, rating plans, premiums and minimum
premiums applicable to the insurance afforded herein.

RIGHTS AND DUTIES OF POLICYHOLDER

Unless named as an insured in the Coverage Summary, the poficyholder is not an insured and shall have no
coverage Under this policy. However, the policyholder shall pay all premiums, receive all return premiums, provide
any consents, including consent to settle, as may be required, and receive all notices and invoices under this
policy. Ail provisions in the General Condilions which are applicable to the insureds shall also apply to the
policyholder.

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INSPECTION

We shall be permitted but not obligated to inspect any insured’s property and operations at any time. Neither our
right to make inspections nor the making thereof nor any report thereon shall constitute an undertaking, on behalf of
or for the benefit of any insured or others, to determine or warrant that such property or operations are safe,
healthful, or in compliance with any law, rule or regulation.

IV. INSUREDS’ DUTIES

A. When an insured becomes aware of any claim or suit to which this policy applies, or any incident which is
likely to result in such a claim or suit, such insured or his or her representative must report such incident,
claim or suk as soon as practicable.

8. Each insured shall cooperate with us and, upon our request, assist in making settlements, in the conduct of
suits, and in enforcing any right of contribution or indemnity against any person or organization who may be
liable to such insured because of injury with respect to which insurance is afforded under this policy, and the
insured shall attend hearings and trials and assist in securing and giving evidence and obtaining the
attendance of witnesses, No insured shall make any paymeni, assume any obligation, accept responsibility
or provide information concerning the incident except to us or such insured's legal counsel.

C. if a claim is made or suit is brought against any insured, such insured shall immediately forward to us every
demand, notice, summons or other process received by such insured or any representative of such insured.

D. No insured shall alter, destray, or dispose of patient records or otherwise misrepresent or conceal facts
pertinent to any incident, claim or suit.

E. Each insured shail notify us in writing, within thirty (90) days after the occurrence of any one or more of the
following:

1. Such insured undergoes treatment, or is advised by a physician, peer review cammittee, hospital
credentiailing committee or licensing agency to undergo treatment for alcohol, drug or ather substance
abuse, or for psychiatric iliness;

2. Such insured suffers an illness or physical defect which impairs, or is likely to impair, such insured's
ability to practice for a period of thirty (30) days or more;

3. Such insured is convicted of, or pleads guilty or no contest to, any felony or misdemeanor other than
minor traffic offenses;

4. Such insured's license to practice medicine or dentistry, or to dispense medicine, or atherwise to deliver
health care services of any type, is revoked, suspended, surrendered or limited in any respect, or such
insured is called to appear before any licensing agency, peer review committee, professional standards
review committee or credentialling committee in a proceeding seeking to terminate, revoke or limit such
insured’s employment or privilege to practice; or

5. Such insured's privilege to practice is terminated, revoked or limited by the policyholder, any hospital or
other employer, whether by reason of termination of employment or otherwise.

If any insured fails to comply with any obligations under this policy, our obligations to such insured under this

policy shall terminate, including any liability or obligation to defend, prosecute or continue any litigation.

Vv. CLAIMS AGAINST US

No claim shall lie against us uniess, as a condition precedent thereto, there shall have been full compliance with all
of the terms of this policy, nor until the amount of any insured’s obligation to pay shail have been finally determined
either by judgment against an insured after actual trial or by written agreement of such insured, the claimant, and
us. Any person or organization or the legal representative thereof who has secured such judgment or written
agreement shall thereafter be entitled to recaver under this policy ta the extent of the insurance afforded by this
policy. No person or organization shali have any right under this policy to join us as a party to any action against
an insured to determine the insured’s liability, nor shall we be impleaded by an insured or any fegal
representative.

Our liability in any cause of action based on allegations that we did not fulfill our obligations to any insured in good

faith shall not exceed the value of the insured’s assets that are legally subject to attachment and levy by a

judgment creditor after payment of all sums available through this policy. For purposes of this limitation, the “value

of the insured’s assets” shal! be determined as of the date of the judgment rendered against the insured and shall

not include the subject cause of action against us. .

Bankruptcy or insolvency of any insured or any insured’s esiate shal! not relieve us of any of our obligations

hereunder.

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XI.

Any claim against us, including without limitation any cause of action that relates to or arises in connection with this
policy, or that is based on allegations that we did not fulfill our obligations to any insured in good faith, shall be
brought in arbitration pursuant to Section XIE below.

OTHER INSURANCE

A. With respect to joss arising from peer review services (other than peer review services performed on our
behalf), the insurance provided by this policy is excess over any other insurance.

B. Insurance provided to any insured by “Additional Limits of Liability,” as specified in the Coverage Summary,
shall apply only after exhaustion of the “Primary Limits of Liability” specified in the Coverage Summary for
such insured. Insurance provided by Additional Limits of Liability shail be in excess of, and shall not
contribute with, any other insurance. If Additional Limits of Liability are provided, we shall, after the Primary
Limits of Liability have been exhausted, have no duty to defend any suit that any other insurer has a duty to
defend.

Cc. Except as provided in A or B, and any endorsement forming a part of this policy, this insurance is primary.

D. When both this insurance and other insurance apply to loss on the same basis, whether primary, excess or
contingent, we shail not be liable under this policy for a greater proportion of the loss than that stated in the
applicable contribution provision below:

1. If all of such other insurance provides for contribution by equal shares, we shall not be liable for a
greater proportion of such loss than would be payable if each insurer contributes an equal share until
the share of each insurer equals the lowest applicable limit of liability under any one policy or the full
amount of loss is paid, and with respect to any amount of foss not so paid, the remaining insurers
then continue to contribute in equal shares of the remaining amount of the loss until each insurer has
paid its limit in full or the full amount of the loss is paid.

2. If any such other insurance does not provide for contribution by equal shares, we shall not be liable
for a greater proportion of such loss than the applicable limit of liability under this policy for such loss
bears to the total applicable limit of liability of all valid and collectible insurance against such loss.

SUBROGATION

In the event of any payment under this policy, we shall be subrogated to any insured’s rights of recovery therefor
against any person or organization, and any such insured shali execute and deliver instruments and papers and do
whatever else is necessary lo secure such rights. No insured shall do anything to prejudice such rights.

ASSIGNMENT

No insured may assign any interest in this policy. lf, however, any insured shall die, such insurance as afforded by
this policy shall apply to such insured’s legal representative, as an insured, but only while acting within the scope
of the representative’s duties as such. No insured shall assign any cause of action against us that relates to or
arises in connection with this policy, or that is based on allegations that we did not fulfill our obligations to any
insured in good faith.

CHANGES

Notice to any agent or knowledge possessed by any agent or by any other person shall not effect a waiver or
change in any part of this policy or estop us from asserting any right under the terms of this policy; nor shall the
terms of this policy be waived or changed, except by endorsement issued to form a part of this policy.

CANCELLATION

This policy, or coverage of any insured thereunder, may be canceled by the policyholder by mailing to us written
notice stating when thereafter the cancellation shail be effective. This policy, or coverage of any insured
thereunder, may be canceled by us by mailing to the policyholder, at the address shown in the Coverage
Summary, written notice stating when such cancellation shall be effective, in accordance with applicable state law.
The effective date and hour of cancellation stated in the natice shall become the end of the policy period for each
insured to which such cancellation applies. Delivery of such written notice either by the policyholder or by us shall
be equivalent to mailing. If the policyholder cancels, earned premium shal! be computed in accordance with the
customary short rate table and procedure. If we cancel, earned premium shall be computed pro rata. Premium
adjustment may be made either at the time cancellation is effected or as soon as practicable after cancellation
becomes effective, but payment or tender of unearned premium is not a condition of cancellation.

RENEWAL OF POLICY

Neither the policyholder nor we have any obligation to renew this policy. Any renewal will be on the policy forms
and endorsements then in effect. If we elect not to renew this policy, or coverage of any insured thereunder, notice
af nonrenewal shail be given in accordance with applicable state law.

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XH.

XI.

XIV,

FRAUD AND MISREPRESENTATIONS

By acceptance of this policy, all insureds agree that the statements in the Coverage Summary and in their
respective applications or renewal applications fer insurance are their agreements and representations, that this
policy is issued in reliance upon the truth of such representations, and that this policy embodies all agreements
existing between themselves and us or any of our agents relating to this insurance. In the event of any fraud,
material misrepresentation or omission by any insured in any application or renewal application for insurance, this
policy is void as to the party committing such fraud, material misrepresentation or omission, no coverage is
afforded to such party hereby, and such party shall have no right to purchase a Reporting Endorsement.

ARBITRATION

Both the insureds and we acknowledge that this agreement evidences a transaction involving interstate commerce.
Any dispute, claim or controversy arising out of, relating to or in connection with this policy, its subject matter or its
negotiation, as to the existence, validity, interpretation, performance, non-performance, enforcement, operation,
breach of contract, breach of warranty, continuance or termination thereof or any claim alleging fraud, deceit, or
suppression of any material fact or breach of fiduciary duty shall be submitted to binding arbitration in accordance
with Title 9 U.S.C. § 1 ef seq. (The United States Arbitration Act) and the Commercial Arbitration Rules of the
American Arbitration Association. Such arbitration proceedings may be initiated by either party by notice i writing to
the other and to the American Arbitration Association. Each party to arbitration shall bear its own arbitration casts
and expenses. However, in the event any party is required to file a petition or commence any such other proceeding
to compel arbitration, the arbitrator may award that party reasonable attorney's fees and casts incurred in having to
bring such action. The arbitrator shall have the discretion to order a pre-hearing exchange of information by the
parties, including, without limitation, production of requested documents, exchanging of summaries of testimony of
proposed witnesses, and examination by deposition of parties. Notwithstanding contrary state law or regulation, the
arbitrator shall have the authority to award any remedy or relief allowed under the provisions of the United States
Arbitration Act, including, without limitation, specific performance of any obligation created under this policy, the
awarding of punitive damages, the issuance of an injunction, or the imposition of sanctions for abuse or frustration
of the arbitration process. Any arbitration award shall be in wriling and shail specify the factual and legal bases of
the award. Judgment on the award rendered dy the arbitrator shall be final and may be entered in any court having
jurisdiction thereof, The provisions hereof shall be a compiete defense to any suit, action, or proceeding in any
federal, state or local court or before any administrative tribunal with respect to any dispute, claim or controversy
arising under this policy.

if we maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary} is located, the arbitration shall proceed in any county in which we maintain such office in such state. If
we do not maintain an office in the state in which the address of the policyholder (as specified in the Coverage
Summary} is located, the arbilration shall proceed in the caunty that includes the capilat af the state in which the
address of the policyholder (as specified in the Coverage Summary} is located.

GOVERNING LAW

This policy shall be construed, and the legal relations between us and the insureds (and anyone claiming under
the insureds) shall be determined, in accordance with the laws of the state in which the address of the
policyholder, as specified in the Coverage Summary, is located, except that the Federal Arbitration Act (Title 9 of
the United States Code) shail apply to the rights and obligations of the parties to submit any dispute, claim or
controversy arising under this policy to arbitration, as provided in Section XII above.

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